


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Holder, J.), imposed March 28, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The record demonstrates that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Sanders, 25 NY3d 337, 339-342 [2015]; People v Lopez, 6 NY3d 248, 256-257 [2006]). The defendant’s valid waiver of the right to appeal precludes review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255-256).
 

  Eng, P.J., Balkin, Hall, Duffy and Brathwaite Nelson, JJ., concur.
 
